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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                               MINUTES OF PROCEEDINGS


 CAMDEN OFFICE                                                  July 23, 2024
                                                              DATE OF PROCEEDINGS


 CHIEF JUDGE RENÉE M. BUMB

 COURT REPORTER: JOHN KURZ

                                                    Docket # 19-md-2875 (RMB)(SAK)
 TITLE OF CASE:

 IN RE: VALSARTAN PRODUCTS LIABILITY LITIGATION

 APPEARANCES:
 SEE ATTACHED SIGN-IN SHEETS

 NATURE OF PROCEEDINGS:              PRETRIALCONFERENCE/MOTIONS HEARING

 Pretrial Conference held on the record.
 Hearing on in limine motions held on the record.
 Order to issue.
 Ordered jury selection set for October 30, 2024 at 9:00AM.


 Time Commenced: 10:00a.m.           Time Adjourned: 1:15p.m.
                 2:00p.m.                            5:15p.m.

 Total Time: 6:30

                                                                  Lawrence MacStravic
                                                                   Deputy Clerk
